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                                                        RETURN
DATE WARRANT                DATE AND TIME WARRANT                      COPY OF WARRANT AND RECEIPT FOR ITEMS
RECEIVED                    EXECUTED                                   LEFT WITH



INVENTORY MADE IN THE PRESENCE OF



INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT




    I swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.


                                  ________________________________________________
